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UNITED STATES DISTRICT COURT                                   EASTERN DISTRICT OF TEXAS



UNITED STATES OF AMERICA                          §
                                                  §
versus                                            §   CRIMINAL ACTION NO. 4:11-CR-166
                                                  §
MARSALIA LARAY SMITH (11)                         §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

 §636. On January 15, 2013, the report of the Magistrate Judge was entered containing proposed

 findings of fact and recommendation that the Defendant’s pro se Motion to Withdraw Plea

 Agreement (Dkt. #447) should be denied.

         Having received the report of the United States Magistrate Judge, and no objections thereto

 having been timely filed, this Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions

 of the Court. It is accordingly

         ORDERED that the Defendant’s pro se Motion to Withdraw Plea Agreement (Dkt. #447)

        .
 is DENIED.
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 5th day of February, 2013.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
